             Case 4:06-cr-40033-JPG                     Document 208 Filed 08/28/12                     Page 1 of 4                Page ID
A0245D                                                            #578
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT                                                                ~~
                                                          Southern District of Illinois                  .9.   <. "(4~      4g6'             ~b
                                                                                                           01./;;-ty,~lr;        <'
          UNITED STATES OF AMERICA                                        Judgment in a Criminal Case               ~"\)tit~~
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                                                                                                                                    0'<'c?t
                             v.                                           (For Revocation of Probation or Supervis~J~;,'~?'~                 (?
                  Richard L. Allsup                                                                                         qv'""'r/c/c ;-
                                                                                                                                o,('~ o,(' Co
                                                                                                                                    tc~ ;<'z;~"i>r
                                                                          Case No. 06CR40033-05                                                   0;<5'
                                                                          USM No. 07253-025
                                                                           Melissa Day, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
ri{ admitted guilt to violation of condition(s)         as alleged below                  ofthe term of supervision.
0   was found in violation of condition(s)            - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           N a tore of Violation                                     Violation Ended
Special                           The defendant was arrested for DUI                                             08/03/2012




       The defendant is sentenced as provided in pages 2 through _ _4_ _ ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8052

Defendant's Year of Birth:          1976

City and State of Defendant's Residence:
DuQuoin, IL
                                                                                                                            District Judge
                                                                                     .          Name and Title of Judge

                                                                                         YLL dr;?r, ~
                Case 4:06-cr-40033-JPG                      Document 208 Filed 08/28/12              Page 2 of 4           Page ID
 AO 245D                                                              #579
               (Rev. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment
                                                                                                  Judgment- Page _.,:2_ of           4
 DEFENDANT: Richard L. Allsup
 CASE NUMBER: 06CR40033-05


                                                                   IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 term of:
14 days




     0     The court makes the following recommendations to the Bureau of Prisons:




     t/ The defendant is remanded to the custody of the United States Marshal.
     0     The defendant shall surrender to the United States Marshal for this district:
           0     at  - - - - - - - - - 0 a.m.                        0    p.m.    on
           0     as notified by the United States Marshal.

     0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0     before 2 p.m. on
           0     as notified by the United States Marshal.
           0     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                      to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                                 By
                                                                                            DEPUTY UNITED STATES MARSHAL
              Case 4:06-cr-40033-JPG                      Document 208 Filed 08/28/12                 Page 3 of 4           Page ID
  AO 2450                                                           #580
              (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

                                                                                                     Judgment-Page      3     of _ _4.:...,__
  DEFENDANT: Richard L. Allsup
  CASE NUMBER: 06CR40033-05
                                                             SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
60 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody ofthe Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within I5 days of release from imprisonment ana at least two periodic drug
 tests thereafter as determined by the court.
  0     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  t/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  t/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  0     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
 0      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgt11ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
     . . The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 condttlons on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
  I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permtssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatiOn requirement.
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 AO 2450                                                           #581
            (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3C- Supervised Release

                                                                                           Judgment-Page   _4_ of _ ___;..4__
 DEFENDANT: Richard L. Allsup
 CASE NUMBER: 06CR40033-05

                                            SPECIAL CONDITIONS OF SUPERVISION

   1. The defendant shall abstain from the use and/or possession of all alcoholic beverages and any other substances for
the purpose of intoxication. The defendant shall not enter or patronize establishments where intoxicants are the primary
item of sale, such as bars, lounges, and night clubs.

 2. The defendant shall reside in a Residential Reentry Center at the direction of the probation office for not more than
180 days or until discharged by the center director.

  3. Upon release from the Residential Reentry Center, the offender shall submit his person to a remote alcohol testing
system and comply with all requirements for a period of up to six months as approved by the United States Probation
Office. The defendant shall pay for all or part of the costs associated with this system as directed by the Court and/or
probation officer.

   4. The defendant shall be restricted to their residence very day as directed by the supervising officer for the period of
remote alcohol testing. The defendant shall be monitored by Radio Frequency Monitoring and shall abide by all
technology requirements. The participant shall pay all or part of the costs of participation in the location monitoring
program as directed by the court and/or the pretrial services or probation officer.

  5. The defendant shall submit his person, residence, real property, place of business, computer or other electronic
communication or data storage device or media, vehicle, or any other property under his control to a search, conducted by
any United States Probation Officer and such other law enforcement personnel as the probation officer may deem
advisable and at the direction of the United States Probation Officer, at a reasonable time and in a reasonable manner,
based upon reasonable suspicion of contraband or evidence of a violation of a condition of release, without a warrant.
Failure to submit to such a search may be ground for revocation. The defendant shall inform any other residents that the
premises or other property under the defendant's control may be subject to a search pursuant to this condition.

  6. All criminal monetary penalties, restitution and forfeitures previously imposed shall continue to remain in fulll force
and effect.
